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    Attorneys for: Intervenors Greg Mele, in his personal capacity as
    a candidate for U.S. Senate for U.S. Senate; Hector Castillo
    in his personal capacity as a candidate for U.S. Senate; Albert
    Harshaw in his personal capacity as a candidate for U.S.
    Senate; Shirley Maia-Cusick in her personal capacity as a
    candidate for U.S. Congress.



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


    ______________________________________
                                          :
   ANDY KIM, in his personal              :   Case No.: 3:24-cv-01098-ZNQ-TJB
   capacity as a candidate for            :
   U.S. Senate, et al,                    :
                                          :
                Plaintiff(s),             :
                                          :
                                          :          NOTICE OF MOTION
         vs.
                                          :      TO INTERVENE PURSUANT TO
                                          :          FED. R. CIV.P.24
   CHRISTINE GIORDANO HANLON,             :
   In her official capacity as            :
   Monmouth County Cler, et al, :
                                          :
                Defendant(s).             :
   ______________________________________ :

                EMERGENCY APPLICATION FOR ENTRY OF AN
                  ORDER GRANTING INTERVENOR STATUS

   TO: Clerk, United States District Court District of New Jersey
       Clarkson S. Fisher Building & U.S. Courthouse
       402 East State Street
       Trenton, New Jersey 08608
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          Honorable Zahid N. Quraishi, U.S.D.J.
          United States District Court District of New Jersey
          Clarkson S. Fisher Building & U.S. Courthouse
          402 East State Street, Court Room 4W
          Trenton, New Jersey 08608

          ALL COUNSEL OF RECORD

   PLEASE TAKE NOTICE that the above mentioned Intervenors, Greg

   Mele, in his personal capacity as a candidate for U.S. Senate for

   U.S.     Senate;    Hector     Castillo       in   his   personal      capacity   as   a

   candidate for U.S. Senate; Albert Harshaw in his personal capacity

   as   a    candidate     for    U.S.   Senate;       Shirley     Maia-Cusick     in   her

   personal capacity as a candidate for U.S. Congress (collectively,

   “Republican Candidate Intervenors”) by and through their counsel,

   The Law Office of Robert D. Kovic, L.L.C., shall move for an order

   permitting them to intervene on an emergency basis and to request

   an expedited briefing schedule to the extent that any party seeks

   to   objects       to   the    intervention        as    of    right   or   permissive

   intervention of the proposed Republican Candidate Intervenors. As

   grounds       therefor,       proposed    Republican          Intervenors    state     as

   follows:


            1.   This matter was brought before the court by Plaintiffs

   who are Democratic Party candidates for federal office, running

   in the June 4, 2024 on behalf of the Democratic Party. By way of

   Verified       Complaint       and    Motion       for   Preliminary        Injunction,

   Plaintiffs alleged various violations of their constitutional



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   rights as a result of the application of New Jersey’s bracketing

   and ballot design statues (a.k.a. “the party line system”) for

   the upcoming June 2024 Democratic Primary election.

         2.    On or about March 29, 2024, the Court rightfully and

   correctly    granted    Plaintiffs’       Preliminary    Injunction   thereby

   prohibiting the application of New Jersey’s ballot design and

   bracketing statutes from being used in the June 4, 2024 Primary

   Election. As a result, the Democratic part cannot award certain

   “preferred” candidates for office with the party line, which gives

   such candidates a substantial advantage at election time.

         3.    On or about March 29, 2024, counsel for a proposed

   intervenor submitted a letter to the Court seeking clarification

   as to the applicability of the March 29, 2024 Order.

         4.    Apparently, by way of Letter dated March 30, 2024, the

   Court wrote via correspondence that the Order does not apply to

   the Republican Primary for this June 2024 but was limited to the

   June 4, 2024 Democratic Primary only.

         5.    At   this   time,   several     Republican    candidates,   party

   officials and members desire to intervene in order to challenge

   the limits of the Order. Several have expressed interest in

   participating herein.

         6.    Such limitations as applied by the Order unfairly apply

   constraints      against   Republican     Candidates,    at   all   levels   of




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   government including local, state and federal and the electorate

   in general constitutional from enjoying the same constitutional

   protections      and   privileges      as    the   Democratic      Candidates    and

   Democratic Party voters.

         7.    The issues at hand, and the constitutional questions at

   stake here, have been fleshed out for the most part and so the

   principles in questions are fairly clear and should not require

   extensive briefing.

         8.    As    such,     allowing    the    above   named       Intervenors    to

   participate and be heard in the Court’s addressing of this matter,

   and that on an expedited basis, to examine the effect of the

   limitations imposed by the March 29 Order need to be addressed as

   a matter of justice, fairness and equal applicability of our

   constitutional principles to all parties so as to not create a

   separate    class      of   candidates       and   voters    who   share   special

   privileges not enjoyed by the other.

         9.    The     Republican    Candidates,        party    officials,     party

   members and voters are entitled to equal protection under the laws

   and constitution and, as such, these Intervenors should be heard

   in order to preserve such constitutional principles by expanding

   the relief granted in the March 29, 2024 Order.




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                                            Respectfully submitted,

                                            The Law Office of
                                            ROBERT D. KOVIC, L.L.C.


                                            By: _Robert D. Kovic_____
                                                Robert D. Kovic, Esq.

   Dated: April 1, 2023




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